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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DOROTHY CONTRAD                               :      CIVIL ACTION

       vs.                                    :

ALLIANCEONE RECEIVABLES
MANAGEMENT, INC.                              :      NO. 08-5549


                               NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, DOROTHY CONRAD, pursuant to Rule

41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the action

captioned above, with prejudice.




                              BY:_/s/ Bruce K. Warren
                                     Bruce K. Warren, Esquire
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